      Case 5:13-cv-00810-SP Document 21 Filed 05/29/14 Page 1 of 1 Page ID #:675



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 8                     UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10
11   OLGA LIDIA GONZALEZ-             ) Case No. ED CV 13-810-SP
     GOOLEY,                          )
12                                    )
                        Plaintiff,    ) JUDGMENT
13                                    )
                    v.                )
14                                    )
      CAROLYN W. COLVIN, Acting )
15    Commissioner of Social Security )
      Administration,                 )
16                                    )
                        Defendant.    )
17   _____________________________ )
18
19        Pursuant to the Memorandum Opinion and Order filed contemporaneously
20 with the filing of this Judgment,
21       IT IS HEREBY ADJUDGED that the decision of the Commissioner of the
22 Social Security Administration is AFFIRMED and this action is dismissed with
23 prejudice.
24
25 Dated: May 29, 2014
26
                                        SHERI PYM
27                                      United States Magistrate Judge
28
